    Case: 1:16-cv-08682 Document #: 84 Filed: 04/25/18 Page 1 of 2 PageID #:1873



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MEHDI ABDOLLAHZADEH,                          )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Case No. 16-cv-8682
                                              )
MANDARICH LAW GROUP,                          )       Honorable Manish S. Shah
LLP,                                          )
                                              )
               Defendant.                     )

                                      NOTICE OF APPEAL

       Notice is hereby given that Plaintiff, Mehdi Abdollahzadeh, hereby appeals to the United

States Court of Appeals for the Seventh Circuit from this Court’s Memorandum Opinion and

Order granting Defendant’s motion for summary judgment, entered in this case on March 26,

2018 (Dkt. # 82), attached hereto as Exhibit A, and all prior orders affecting it.


                                              Respectfully submitted,

                                              Mehdi Abdollahzadeh,

                                              By: s/ Mario Kris Kasalo
                                              Attorney for Plaintiff




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   Case: 1:16-cv-08682 Document #: 84 Filed: 04/25/18 Page 2 of 2 PageID #:1874




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2018, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to all registered CM/ECF users who have entered an Appearance in this case.



                                              By: s/ Mario Kris Kasalo
                                              Mario Kris Kasalo
